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                  IN THE        DISTRICT        COURT      OF THE    FIFI'H     JUDICIAL        DISTRICT

               OF THE      STATE          OF IDAHO,       IN AND    FOR THE        COUNTY        OF BLAINE



GERARD        J. HART,         solely   in his capacity   as        Case Qo.CVO7-22-00320
Trustee     of the GERARD           AND       HEATHER
HART       LIVnSJG TRUST  dated February 28,                               VH,ffiD            COMPLAmT             FOR:
2014,  and HEATHER      ANN HART,     solely in
her capacity as Tnistee of the GERARD      AND                      1.    BREACH            OF CONTRACT
HEATHER      HART LIVING      TRUST dated                           2.    BREACH            OF IMPLIED           DUTY      OF
February     28, 2014,                                                    GOOD       FAITH      AND       FAIR
                                                                          DEALING
                                Plaintiffs,                         3.    WOLATION             OF THE       mAHO
                                                                          PRO.t!a'l'Y         (:ONDITION
V.                                                                        DISCLOSURE            ACT       § 55-2502,       et seq
                                                                    4.    VIOLATION            OF THE   mAHO
LEGENDS        DEVELOPMENT            COMPANY,             a              CONSUMER             PROTECTION               ACT
Wyoming       corporation;     and GARY J.                                § 48-603(17)
ENGMAN,         an individual,                                      5.    FRAUD
                                                                    6.    R'F.S('.TSST(IN
                                Defendants,
                                                                     (and in the alternative          (IR.CJP.     8(d))

                                                                    7.    SPECIFIC          PERFOffiCE


                                                                               A DEMAND FOR
                                                                         JURY TRIAL ON ALL COUNTS




VERIFIED     COMPLAINT-1
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               COMES             NOW,       Gerarrl    J. Hart, solely       in his capacity       as Tnustee of the GERARD                  AND

 HEATHER                HART       LIVING         TRUST        dated February          28, 2014, and Heather             Ann Hart,        solely     in

 her capacity            as Tmstee          of the GERARD             AND     HEATHER            HART       LIVING       TRUST       dated

 February            28, 2014, ("Plaintiffs"),            by and through          their attorneys,        Edward      A. Lawson       and Jared

 C. Kimball            of the firm       LAWSON            LASKI         CLARK,      PLLC,       and alleges for claims          of relief

 against      Defendants           LEGENDS             DEVEIf)PMENT                COMPANY,               a Wyoming        corporation;      and

 GARY         J. ENGMAN,                an individual,        ("Engman")          as follows:


                                                                         iNTRODUCiiui<

              (a).     This case is about promises                 made by Engman               and promises       then broken.       It is a case

where Engman                promised         to repair     specific      and substantial        defects    in a property      he sold to

Plaintiffs,          and where Engman                 also knew       of, but bid and misrepresented               other material      defects           in

the property.             Plaintiffs'       bargained      for and demonstrated             good faith was met instead              by acute bad

faith    and by fraud            in the inducement           by Engman          to lure Plaintiffs        into a sales contract.

              (b).     Instead     of acting      in good faith under the terms of the underlying                        contract     and in

honomg his clear written                     promises       and other duties as a seller of real property,                   Engman        failed        to

repair     the identified          defects      at the property,          and he also failed       to make accurate          and tnuthful

property        defect      disclosures.        Engman        left Plaintiffs       with   a materially      defective      home which            will

require       substantial         monies,      time,     and effort      to remedy       and repair.      Because     of the conduct         of

Engman,         described         in detail     below,      Plaintiffs      have gone from         the excitement        of buying        a new

home in Blaine              County       to facing       a nightmare        of defects     and a long list of very costly            and time

consuming             repairs.    The underlying           sales contract       has been breached            and its putpose        wholly

defeated       by Engman.




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             (c).    Plaintiffs,          therefore,        must          seek specific           legal   and equitable          relief     from      this    Court:


                                                                                I.            PARTIES


             1.              Plaintiff         Gerard      J. Hart        is a Trustee            of the Gerard        and Heather            Hart    Living      Tnist

 dated     February          28, 2014,          and a resident             of Texas.


             2.           Plaintiff           Heather      Ann       Hart     is a Trustee           of the Gerard            and Heather          Hart      Living

 Trust     dated     Febniary            28, 2014,        and a resident              of Texas.


             3.           Plaintiffs           Gerard      J. Hart         and Heather            Ann     Hart,    as Tnistees         (or their      successors             or

 assigns)        of the Gerard            and Heather              Hart     Living        Tnist     dated    February          28, 2014,       own     real

property,         which      is the subject             of this action,          to-wit:          34 Cheval         Circle,     Bellevue,       Idaho,        83313

(Blaine      County          Parcel       No.    RPOO3990000030).


            4.            Legends             Development             Company             is a Wyoming             Profit      Corporation           (Domestic)

with     a pmcipal           place       of business         located         at 970 W. Broadway,                    Suite      E - #514,       Jackson,

Wyoming,            83301,       and with         a mailing           address        of    p.o.     Box     137 Bellevue,          Idaho       83313.

            5.            Legends             Development             Company             lists its registered          agent     as Gary       J. Engman,              with

an address          at 970 W. Broadway,                     Suite     E - #514,           Jackson,        Wyoming             83301.

            6.            Gary       J. Engman           is an individual,                upon      information         and belief,        residing          in Jackson,

Wyoming,            and/or      in Ketchum,             Idaho.


            7.            On information                and belief,          Gary      J. Engman            is the President           of Legends

Development             Company               and he controls              and dominates              all of its business          affairs.     There         existed        a

unity     of interest        in Legends           Development                Company              and Gary        J. Engman        such that their

individuality         and separateness                  does not exist.              Legends        Development               Company         is a mere        shell        of

an entity        and the alter           ego of Gary          J. Engman,             wich          Gaty     J. Engman          has used as a conduit                  for

his own      personal         and business              affairs.      Adhe.ring           to the fiction          that Legends         Development




VERIFIED          COMPLAINT-              3
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Company            has a separate             and distinct       existence          apart     from       Gary       J. Engman        would     perpetrate         a


fraud      against      Plaintiffs,          promote       injustice,       yield     an inequitable             result,      and constitute       an abuse of


corporate          privilege.


             8.            Plaintiffs        are informed            and believe,           and thereon          allege,      that each of the


Defendants            sued herein            was the agent,          servant,       employee,             partner      or joint     venturer     of each of the


remaining           Defendants,          and was at all times,                acting        within       the purpose          and scope        of such agency,


service,      employment,               partnership          or joint      venture.         In making           the misrepresentations,                concealing


the facts         and performing              or omitting        to perform           the acts set forth             below,       Gmy     J. Engman         acted


on his own           behalf       and on behalf            of Legends         Development                 Company.


                                                        n.            ,JURISDICTION                      AND VENUE

            9.             This    Court       has jurisdiction            pursuant          to Idaho       Code       § 5-514.       Venue      lies in this


District     pursuant           to Idaho       Code        §5-401,      et seq.       This    action        involves       claims      exceeding


$10,000.00.

                                                   m.            GENERAL                ALLEGATIONS


                                                       (Applicable to All Chims for Relief)

                                                                        - Background                 -


            10.            In the spig            of 2022,       Plaintiffs         searched         for real properly             to purchase         in Blaine


County,       Idaho.


            11.            Their      search     finally      led them        to an architecturally                  unique       residence     located      in


Benevue,           Idaho      in the    "Benevue            triangle"      and within           the "Bellevue              Farms"       subdivision.


            12.            The     address       of the real property               identified           by Plaintiffs        for potential      purchase          is


30 Cheval          Circle,       Bellevue,        Idaho,      (the "Property"),               also known            locally       as the "Starship"


because       of its unique             modern      design.          See                 # 1.




aD                COMPLAINT-             4
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             13.         The seller of the Property                   as listed in public          records    (prior     to purchase      by Plaintiffs)         is


Legends        Development               Company            (Registered       Agent,     Gary J. Engman).


             14.         Plaintiffs          were attracted        to the unique         design     and zal         Bellevue      Triangle        setting    of the


Property       and elected         to make an offer              by submitting           a Purchase      and Sale Agreement              dated Febniary           10,


2022.        See                  # 2.


             15.         That Purchase               and Sale Agreement             included       a requirement          for Seller to provide


disclosures          mandated         by the Idaho            Property     Condition        Disclosure       Act.      See id. at p. 5.


             16.         A counteroffer               was proffered          by Engman          and executed         by Buyer      and Seller         also


on February           10, 2022.              See               # 3.


             17.         InplainrecognitionoftheneedtomakesubstantialrepairstotheProperty,the


Counteroffer           listed     terms that amended               the Purchase          and Sale Agreement              as follows:


                         5. Item # 16.              $250,000      of the Seller's         proceeds     to be held. by Escrow
                         post Closing              until    Seller can exhibit         to Buyers     Agent       that all work      orders
                         on item # 16 have been completed.                             Seller   shall have until         June 1, 2022 to
                         complete.            Upon         acknowledgment         that said repairs          have been completed,
                         money        to be released           immediately        to Seller by Escrow.


             See id.


             18.        Item # 16 from                the Purchase        and Sale Agreement              lists repairs        that Seller       is


required      to perform:


                         Seller     agrees to complete                work    on the elevator.         Seller       agrees to install        a
                        new pool liner               and also repair         the leaks in the ceiling            below    pool.     Seller
                        to replace            all damages       windows.         Sener to repair         any doors that need repairing.


             See                  # 2, at p. 4.


             19.        After      enteig            the Agreement           to purchase        the Property,        it soon became          clear to


Plaintiffs     that Engman            was not progressing                 with   his promised         repairs.


             20.        On March              25, 2022, Plaintiffs           and Engman          executed        an Addendum           which




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provided       for a "hold        back"      from      Seller's        sale proceeds            of $250,000             - in the event        that Engman


fails    to "finish     or repair     any items           that have not been                completed."               See                 # 4.


            21.         In the "Addendum"                     and at Engman's               request,       Plaintiffs        also agreed          to release


$100,000.00 in earnest money to Engman to help him facilitate andpay for repairs at the Project.

            22.         As an incident             of the marketing               effort    for the Properly,               Engman        provided         a RE-25


Seller's     Property         Disclosure       Form       ("Seller's           Property       Disclosure          Form"),         dated    October         26


         , as mandated          by the Idaho           Property         Condition          Disclosure          Act.      See                 # 5.


            23.             On February       15, 2022,          Engman           prepared           and provided           Plaintiffs     with      a written


summary           of Engman's        promised           repairs        (with     timelines)          for defective          windows,        the elevator


defects,     defective         pool/water          sealing,     an "exactly"              ordered      pool    liner,       assurances       for operability


of pool      apparatus/items,            and for full          pool     and full      pool/4'         floor    ceiling       waterproofing,           which


later    all proved         to be incomplete,           deeply         flawed,      and/or       simply        not performed.             See                     # 6.


            24.         On March           22, 2022,          Engman           provided       Plaintiffs       with      a schedule        for "Starship


Projects      Completions"           - which          included         a line     item     listing     of repairs        that Engman              agreed     to


undertake         and to perform           prior     to closing         with     a specific          performance            notation      stating,    "ALL


CONTRACT                REPAIRS           COMPLETE                4/29/22".         See                    # 7.


            25.         Based      on the written             promises          and personal           assurances           by Engman             to make       the


required      repairs        to the Property,          Plaintiffs        agreed       to close        on the Properly            on May       23, 2022.


            26.         Following          the May        23, 2022,            closing,     payment           of the purchase            price,      and upon


taking     possession          of the Property,           Plaintiffs       identified         that Engman               had rxot performed             the


promised          repairs     as :greed      in writing         in the Purchase              and Sale Agreement                   (and in the


Addendum).


            27.         On or about          May       29, 2022,         Plaintiffs         also encountered                a dizzying      array      of safety




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 and basic         habitability        issues      left    for them        by Engman              at the Property          including           a dangerous

 kitchen      gas leak,        no hot water,              and exposed            pipes       spraying       sewage/grey            water      into     living     spaces.


             28.          On or about             May       29, 2022,         Plaintiffs        had also began            moving        personal            possessions

into   the Property,              and when         it later     rained,       Plaintiffs        witnessed        water     pouring           into     the Property

from       the roof     in various            locations        and                g down        over     exposed        electrical         wimg         in the

elevator.


             29.          Plaintiffs          personal        possessions,            which      had just      been moved             into     the Properly,

then      suffered      water      damage          due to myriad              leaks      in the roof.


             30.          Specifically,           Plaintiffs         identified        the following           as incomplete,              or never         initiated

repairs      which      Engman          failed      to perform            and which            were     promised       by Engman               as a condition            of

closing:


                         (a)           Promise          for roof       top pool        to be professionally               repaired           and sealed:


                                       (1).         Not        repaired       (Engman           installed      a faulty     or used/repurposed                    pool
                                                     liner).


                                       (2).         Pool        equipment           not functioning/outlets                obstnicted           by faulty         pool
                                                    liner       installation/liner             not fitted      for pool.


                                       (3).         No safety          rail      installed      around       pool     as promised.


                                       (4).         Engman           promised            a "20-year"         professional           guarantee           on pool
                                                    repairs        and instead             attempted        repairs    on his own             or with       his
                                                    handyman              with     no available          factory/professional                  warranty.


                                       (5).         Pool/roof          of 4'       floor     not waterproofed;             allows       substantial             water    to
                                                    penetrate         interior        living     spaces below;            exacerbated               by rain.


                         (b)           Promise        to replace          "fogged"           and broken/cracked               windows               prior   to closing:


                                       (1).         Windowsnotreplacedleavingseveraldozen
                                                    broken/fogged/cracked                       windows         which      still     require        replacement.

                         (c)           Promise        for elevator            to be professionally              replaced           by early         April    2022:




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                              (1).       Not repaired,         found     to be inoperable,         exposed         wiring


                              (2).       Engman          engaged      an elevator      company          but withheld         from
                                         Plaintiffs      that he also intended             to perform       partial      work/repairs
                                         himself       or kough        is   handyman.


                     (d)      Promise     to repair       and seal doors:


                              (1).       Doors      fail to seal and lack weather               stripping       throughout          the
                                         Properly        allowing      water to penetrate          the house.


            31.       EngmanalsoconcealedandsuppressedfromtheP1aintiffsthefonowingmaterial


defects     within   the Property     which     were not disclosed            by Engman          as required          by Idaho law on the


"Seller's     Disclosures"    provided        to Plaintiffs:


                     (a)     Dishwasher           marked       as "working"         but found      to be inoperable.


                     (b)     (Sink Garbage)            Disposal       marked     as "working"           but no such disposal
                             exists.


                     (c)     Oven Cooktop             Range marked            as "working"        but contains           a number         of
                             serious     gas leaks requuing             full removal         and replacement             by Plaintiffs.


                     (d)     Security      System        marked      as "working"          but instead      inoperable         and had
                             been disconnected             - and flowmeter           on the fire alarm/sprinkler                system had
                             been disconnected/disabled                  rendering      it inoperable.


                     (e)     Light     Fixtures       marked      as "working"        but include        bare/stripped         wiring
                             simply      inserted      into outlets.


                     (f)     Smoke Detectors and Carbon Monoxide                              Detectors marked              as "working"
                             but neither were found present anywhere                          in the property.


                     (g)     Prior Water         Intnusion      was marked          as "No"      whereas        roof leaks constantly
                             and upon encountering                  rain, the house was inundated                 with     water intnusion
                             through the roof, doors, and windows;                         Property      reveals      signs of prior
                             water intnision  throughout.


                     (h)     Hot Tub/Jacuzzi             marked      as "working"          but Engman         simply        removed        it
                             from     the Property        and left exposed          wiring      to the elements.


                             Pool marked          as "working"         but pool does not work                even after Engman's
                             attempted        repairs;    Engman        installed     an ill-fitting      repurposed/used             pool
                             liner that leaks and which                covers    outlets      leaving    pool     and pool implements




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                                 wholly       inoperable.


                    (j)          Water       Heater      marked           as "working"          but there         is no hot water             available        in
                                 the master          bedroom            or throughout          most      of the house.


                    (k)          Septic      System        marked          as "working"           but septic            found     instead      to be full,
                                 seeping       sewage/odor.


                                 Sump       Pump/Lift           Pump        marked       "working"            but instead           found     to be
                                 damaged/inoperable                     and causing        grey water/sewage                     to spray      into    the
                                 interior     of the house.


                    (m)          Roof       marked       as "No"          for leaks,     but myriad             roof     leaks      are present
                                 and are exacerbated                    fonowing        any normal            rain      event;    to-wit;


                                 (1).         Main      Floor       and Garages:              Water      leaking         through       main       floor,
                                              garages,         and water        streaming         into    elevator          shaft     through
                                              electrical        wiring;       water     leaking        into     guest bedroom.


                                 (2).         Second       Floor:          Water      leaks    at top of staircase;               leaks      in laundry
                                             room;       substantial          water     leaking        into     loft     bedroom.


                                 (3) .        Third      Floor:         Substantial      water        leaking          at top of staircase;           water
                                              entering         office      area, water        leaking/running               down       interior       walls        of
                                              office     and across          wiring.


                                 (4) .        Fourlh       Floor:         Substantial         water     leaking          from    the roof/pool             area
                                              with     multiple          locations      where      water        is coming           into    the interior
                                              living     spaces through               the roof.


                    (n)          House       is infested         with      rodents      and birds        living         inside    but marked           as "No"
                                 regardmg         rodent        infestation.


            32.     Because        of Engman's             failed       promises        and other        concealments,               Plaintiffs       have


been required      to expend          substantial       monies           to make       the Property           safe, habitable,             mid to


otherwise     complete      specific        repairs     left    unfinished           by Engman,           and to make             myriad        repairs       to


remedy      the undisclosed        defects      in the Property.


                                                                             COUNTI


                                                                  - Breach of Cotdract -

            33.     Plaintiffs        incorporate        by reference           all prior       allegations             of this Verified           Complaint




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and Demand            for Jury        Trial     in full       here and applicable              to all counts          below.


             34.         The Agreement                 between           Engman        and Plaintiffs         constitutes         a valid     and binding


Contract      whereby         Engman            agreed         to make      specific       and timely         repa3rs to the Property               and to


disclose      any defects         at the Property               in accordance           with     Idaho      law.


             35.         Plaintiffs       have        fiiny     mid timely        performed          all of their       obligations         under     the


Agreement          except      where          those     obligations         were    waived         or excused.



             36.         EngtnanhasbreachedhisAgreementbyfailingtoperformpromisedrepairs,by


failing     to correct      defects,          and by also concealing                and witbholding                information         regarding        other


material      defects      in the Property.



            37.          As a direct          result      of Engman's            breach,       Plaintiffs      have been damaged                  and will


continue      to be damaged               in an amount              to be proven         at trial,      but in no event           less than


$1 ,ooo,ooo.ooo.


                                                                                 COUNT         n


                                      - Breach ofImpliedDuty                       of Good Faith andFairDealing                               -

            38.          Plaintiffs       incorporate            by reference          all prior        allegations      of this Verified           Complaint


and Demand            for Jury        Trial    in full        here and applicable              to all counts          below.


            39.          In the Agreement                 there     is an implied          covenant         of good       faith    and fair       dealing    that


obligated      both     parties       to act in good             faith    with    each other         to prevent        the other's      expectations


under      the contract       from       being        frustrated.


            40.          Engman          breached             the covenant        of good       faith     and fair      dealing     by failing        to repair


agreed upon defects in the Property as promised and as set forth in 'J 30 (a-d) and by concealing

other material defects in the Property as set forth in !31                                         (a-n).




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            41.        As a result       of the breach,       Plaintiffs     have been damaged               in an amount         to be proven


at trial which       exceeds        $1,000,000.00.


                                                                      co'tm'r          m


                                 - Violation of the Idaho Property Condition Disclosure Act -
                                                              (I.C.   § 55-2502,           et seq)


            42.        Plaintiffs      incorporate       by reference       all prior       allegations     of this Verified        Complaint


and Demand          for Jury Trial        in full    here and applicable             to all counts below.


            43.        Unless       exempt,     the seller of residential            real property        is required     by Chapter         25 of


Title    55 of the Idaho         Code known           as the Idaho Property            Condition        Disclosure        Act ("Act")        to


disclose     certain      defects     in the property       to a prospective          buyer.


            44.        Engman,         as Seller     of the Property,       had the duty to comply                 with   the Act and


provide      the required        disclosures        and to act honestly         and in good faith,          in the conduct         of the


purchase      and sale trmisaction.


            45.        Engman         through       his agent, provided         Plaintiffs      with    a Sellers    Property      Condition


Disclosure        Form,     and, as alleged          above, Engman          failed     to disclose      material     information        about


the myriad        defects    in the Property          in violation    of the Act.


            46.        If Engman        had fulfilled       its obligations          under the Act and had huthfully                 disclosed


the full    scope and nature           of defects,      Plaintiffs    would      not have purchased             the Propemy        at the


agreed upon price           or would       have then exercised             a right    of rescission.


            47.        PursuanttoIdahoCode§55-2517,bywillfullyornegligentlyviolatingorfailing


to perform        the duties prescribed             by the Act, Engman           is liable      to Plaintiffs      in the amount        of the


actual damages          they have suffered.


            48.        In doing       the things      complained      of, Engman            willfully     and negligently         violated        and


failed     to comply      with      the requirements        of Idaho Properly              Condition      Disclosure       Act.




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           49.         As a direct          result     of the violation        and failure        to comply      with    the duties prescribed


by the Idaho         Property        Condition         Disclosure       Act, Plaintiffs          suffered     damages      in an amoiuit          in


excess of $1,000,000                to be determined             at trial.


                                                                             COUNT         IY


                                                     -Idaho      ConsumerProtecaonAct-
                                                               (I.C.   § 48-603,     et seq)


           50.         Plaintiffs         incorporate         by reference      all prior       allegations     of this Verified         Complaint


and Demand           for Jury Trial          in full here and applicable                 to all counts below.


           51.         Idaho    Code § 48-603(17)                  declares     that it is unlawful           to engage "in         any act or


practice     which     is misleading,           false, or deceptive            to the cons'iuner."


           52.         Engman         made repeated             assurmices       and promises          regarding        repairs     to the Property


which      proved     to be misleading,               false and deceptive          to Plaintiffs       (the consumer).


           53.         Engman         promised,          through       his endorsement            of the Idaho Property             Condition


Disclosure       Act "Seller's            Disclosures"         form     to provide       tnue and correct        information,          but instead


concealed        and misrepresented              the actual and current              condition       of the Property.


           54.         Plaintiffs,        therefore,      in good faith,        relied     on multiple        representations         made by


Engman       which     proved        to be misleading,             false, deceptive            and highly     detimental          to Plaintiffs        as

the consumer.


                                                                             COUNT         V


                                                                              - Fraud      -


           55.         Plaintiffs      incorporate            by reference      all prior       allegations     of this Veed             Complaint


and Demand           for Jury Trial         in full here and applicable                 to all counts below.


           56.         From     on or about Februaty                   2022 through         on or about June 2022 and thereafter,


Legends      Development             Company           and Gary J. Engman,                who are inseparable            as defined       in




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paragraphs           above, made the certain                representations         to Plaintiffs     and also concealed         certain


defects      in the Property           from      Plaintiffs.


              57.        Each of the representations and each of the concealments noted above in 5 30 (a-

d) and 5 33 (a-n), promised                     or concealed,         respectively,       by the Engman        were false, misleading,

grossly      inaccurate        and/or        fraudulent,        and Engman        knew     those representations         mid concealed


facts were false, misleading,                    grossly       inaccurate     and/or     fraudulent       at the time that they were made


or concealed.


             58.         In making           the representations            and in concealing         the material     facts noted above in


5 30 (a-d ) and 5 31 (a-n), Engman                         intended     to induce       the Plaintiffs,     and did induce       the Plaintiffs,


to enter into and to not rescind                    the Purchase         and Sale Agreement.


             59.          Plaintiffs        were ignorant          of the falsity      of the representations         and of the concealed


facts/defects          noted above in !J30             (a-d )and 'J 31 (a-n),            and Plaintiffs     were ignorant        of Engman's

real intention         not to perform            his promises        to repair      and his intention       not to honor       other statutory


obligations          to disclose       defects     within       the Property.


             60.         Plaintiffs         acted in reasonable         reliance       on the repair      promises     noted    above at


paragraph ! 30 (a-d), and in reliance on Engman's (Seller's) disclosures noted above at! 31 (a-

n), where          Bngman      specifically         intended       for Plaintiffs      to so rely, and Plaintiffs        were thereby


induced       to enter into an Agreement                    with    Engman,       foregoing      an opportunity        to rescind    the


Agreement.


             61.         Had Plaintiffs          known         of the actual intentions         and concealments          by Engman,


Plaintiffs     would       have not purchased                  the Property      at the agreed upon price            or would    have


exercised          the right   of rescission.


             62.         Plaintiffs'        reliance    on the promises           and disclosures         described    above and made by




VERIFIED       COMPLAINT-              13
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Engman,      were justified,           especially         given     the personal           touch(es)      and personal         promises       applied            by


Engman       in the inducement.


          63.         As a direct          and proximate            result     of the intentional          misrepresentations              and


concealments         described         above,     Plaintiffs        in good       faith     consummated            the purchase          of the


Property on May 23, 2022, and paid the Engman therefore the sum of $5,750,00.00.

          64.         Plaintiffs       estimate        the cost to make            the Property          habitable         and to effect     required


and outstanding         repairs       exceeds         one million       donars         ($1,000,000.00)            and will     greatly     exceed          the


$250,000.00 "hold-back"                    from the proceeds of the sale.

          65.        As a proximate              result     of the promises               and misrepresentahons,               and also as a


proximate result of the concealments in the seller's disclosures by Engman described above in Y

30 (a-d) and !31          (a-n), Plaintiffs            have suffered damages in an amount to be determined at trial,

but not less than the jurisdictional                    limit     of this Court.


                                                                             COUNT           VI


                                                                         - Rescission             -


          66.        Plaintiffs        incorporate         by reference           all prior       allegations      of this Verified         Complaint


and Demand         for Jury        Trial    in full    here and applicable                 to all counts        below.


          67.        hi doing         the tgs           complained            of Engman           acted fraudulently           or on the basis             of a


mutual    mistake,


          68.        Plaintiffs        became         aware       of the existence           of the grounds          for rescission        on or about


the May      23, 2022,     closing         on the Property,           but did not immediately                    rescind     because      of Engman's


continuous       representations            that repairs        had been made              as promised,          and based       on Engman's


assurances       that any remaining               or incomplete              repairs      would       not exceed     the $250,000.00              "hold-


back"    against     Engman's          proceeds         from      the sale of the Property.




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             69.             Upon     taking         possession          of the Properly          it became            clear    that Engman            was not able


or willing         to effect        the promised              repairs,    and further       that Engman                had previously               concealed


material,        safety,       and habitability               defects     in the Pmperty.


             70.           Engman,            bough           his actions,     has breached              the underlying             contract        materially


which       had destroyed             the entire            purpose      of the contract.


             71.             Plaintiffs       therefore         seek equitable         relief      in the form           of rescission         to restore        the


parties     to their         pre-contract           position.


                                                                                COUNT              VII


                                                                         - Specific Perfomance                     -

                                                            (Pleaded      in the alternaave               (IR.C.P.         8(d))


             72.           Plaintiffs         incorporate          by reference         all prior         allegations          of this Verified          Complaint



and Demand             for Jury           Trial     in full     here and applicable              to all counts          below.



             73.           Engman            has breached             the Agreement             with     Plaintiffs       by failing        to perform


promised           repairs      and by failing              to disclose      defects     contained           within       the Property          as required            by


Idaho     law.



             74.           Plaintiffs         have      fully    and timely      performed               the provisions            of the Agreement              to be


performed           by them.



             75.           Plaintiffs         are and at all times            relevant          have been ready,               willing      and able to


perform       those        provisions             of the Agreement            on its part to be performed.



             76.           Engman's               refusal     to perform      his obligations              under       the terms         of the Agreement


has deprived           Plaintiffs           of the benefits           of Engman's         written          and contractual               bargain.




VERIFnED           COMPLAmT-                15
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              77.          Plaintiffs       have        no adequate            remedy        at law in that the Property               is unique           and


special       and Plaintiffs            cannot        be fully,      fairly      or adequately          compensated             by money        damages.


Plaintiffs         are entitled         to specific        performance               of the Agreement               under     the express       provision          of


Paragraph           22(12)         of the Purchase            and Sale Agreement                    (a contract)       and at common                law.



              78.          As a direct              and proximate           result    of Engman's            breach         of the Contract,          Plaintiffs


have     been damaged                in an amount             to be proven            at trial,    but in no event            less than     $1,000,000.00.



                                                        ATTORNEYS'                    FEES        AND        COSTS


              Plaintiffs      have        been       forced      to incur       attorneys'        fees and costs in connection                  with


this matter          and are entitled               to recover       from       the Engman           their    reasonable         attorneys'         fees and costs


pursuant           to Idaho        Code    §§ 12-120,            12-121         and I.R.C.P.         Rule     54.


                                                                                PRAYER


              WHEREFORE,                   Plaintiffs         pray    for judgment            against        the Engman,          as follows:


              1.           On Count            I,    for all damages             proximately          caused        by Engman's           breach       of contract;


              2.           On Count            n,    for all damages             proximately          caused        by Engman's           breach       of implied


duties       of good       faith     and fair         dealing;


              3.           On Count            m,     for all damages             suffered        as a result       of Engman's         failure       to perform


duties       prescribed        by the Idaho             Property        Condition          Disclosure         Act;


              4.           On Count            IV,    for all damages             suffered         as a result      of Engman's           failure     to perform


duties       prescribed        by the Idaho              Consumer             Protection      Act;


              5.           On Coiuit           V, for all damages                suffered         by Engman's          acts of fraud;


              6.           On Count            VI,    for relief      through         rescission        of the Agreement             between         the parties;


and, as pleaded              in the alternative;




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           7.        On Count        Wl,   for specific       performance       of the Agreement,           and for all damages


proximately        caused by Engman's            failure(s)    in performing          the Agreement         between   the parties;


           8.        On all Counts,        for interest,      attorneys'      fees and costs pursuant          to Idaho   Code § 12-


120 and § 12-121,           45-501    et seq, Idaho       Rule of Civil       Procedure     54, and other applicable         nules,


and for such other and fiuther              relief   as the Court     deems just and proper           in both law and equity.


                                           DEMAND             FOR TRIAL           BY ,JURY

           The Plaintiffs      hereby      demand     trial by jury        pursuant    to I.R.C.P.   38(b).


           Dated this 28th day of June 2022


                                                                 LAWSON          LASKI       CLARK,         PLLC




                                                                 By: Isl,{ared        C. Kimball
                                                                             Edward      A. Lawson
                                                                             Jared C. Kirnball
                                                                             Attorneys     for Plaintiffs




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                                                      VERIFICATIONS


            I, GERARD         J. HART,       (in his capacity     as the Trustee       of the Gerard          and Heather     Living
 Trust     dated February       28, 2014),    being   duly sworn,      declare      and affirm       pursuant     to Idaho    Code §
 9-1406     as follows:      That is GERARD           J. HART      Trustee      for Plaintiff      in the above-entitled        action;
 that GERARD         J. HART          has read the within       and foregoing       Verified      Complaint.

         I, GERARD     J. HART certify (or declare) under penalty                         of perjury         pursuant     to the law of
 the State of Idaho that the foregoing is tnue and correct.



            DATED         this 28'     day of June 2022, at Bellevue,            Idaho.


                                                                /s/ Gerard,{.     Hart
                                                                GERARD          J. HART

            I, HEATHER          A. HART,       (in her capacity      as the Tnistee       of the Gerard         and Heather      Living
Trust     dated February       28, 2014),     being   duly sworn,      declare     and affirm       pursuant      to Idaho    Code §
9-1406       as follows: That is HEATHER   A. HART Trustee for Plaintiff   in the above-entitled
action;     that HEATHER     A. HART has read the within and foregoing   Verified  Complaint.

        I, HEATHER              A. HART certify        (or declare) under penalty               of perjury     pursuant     to the law
of the State of Idaho          that the foregomg      is tnue and correct.



            DATED     tbis 28"'        day of June 2022, at Bellevue,            Idaho.


                                                                /s/ HemherA.    Hm
                                                                HEATHER      A. HART




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      3, teem #10: $eller delivered CCR's to Buyer on 2/10/2022. Buyer to have no CCR mnUngency.

      4, Itmt #14: Should mfar rw'etve anothair acceptable offer to pursie  prkir to ttm relmae of aff azUngandes.
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     8.ltam #17: Buyer and Selfarto handle 'he purdiase of any personal items separately outskffi oftNs mntracl

     7. 80C mmniisdon                                 to be$lOO.OOO.OOand LOC commtssmn to be $140,000.00.




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